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                     United States Court of Appeals
                                   FIFTH CIRCUIT
                                OFFICE OF THE CLERK
   LYLE W. CAYCE                                                TEL. 504-310-7700
   CLERK                                                     600 S. MAESTRI PLACE
                                                            NEW ORLEANS, LA 70130



                              November 08, 2017


  Mr. Tony R. Moore
  Western District of Louisiana, Monroe
  United States District Court
  300 Fannin Street
  Suite 1167
  Shreveport, LA 71101-0000

         No. 16-30920    Dung Pham v. Univ of LA at Monroe, et al
                         USDC No. 3:16-CV-467


  Dear Mr. Moore,
  Enclosed is a copy of the judgment issued as the mandate and a
  copy of the court's opinion.
  Enclosed for the district court and counsel is the approved bill
  of costs.




                                    Sincerely,
                                    LYLE W. CAYCE, Clerk



                                    By: _________________________
                                    Dantrell L. Johnson, Deputy Clerk
                                    504-310-7689


  cc w/encl:
       Ms. Linda Law Clark
       Mr. Daniel Clay Wirtz
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            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT
                             _______________________
                                                                   United States Court of Appeals
                                                                            Fifth Circuit

                                  No. 16-30920                            FILED
                             _______________________               October 17, 2017
                                                                     Lyle W. Cayce
                           D.C. Docket No. 3:16-CV-467                    Clerk

  DUNG QUOC PHAM,

              Plaintiff - Appellant
  v.

  BENNY BLAYLOCK, in his official capacity as Dean of the College of
  Pharmacy, University of Louisiana at Monroe; KEITH JACKSON,
  individually and in his official capacity as Faculty Chairperson of the Board
  of Ethics of the College of Pharmacy, University of Louisiana at Monroe;
  TIBB JACOBS, individually and in her official capacity as the Faculty
  Chairperson of the Board of Ethics of the College of Pharmacy, University of
  Louisiana at Monroe; MICHAEL COCKERHAM, individually and in his
  official capacity as Associate Dean for Academic Affairs of the College of
  Pharmacy, University of Louisiana at Monroe; KHALID EL SAYED,
  individually and in his official capacity as Professor of the College of
  Pharmacy, University of Louisiana at Monroe; ERIC A. PANI, individually
  and in his official capacity as Vice President for Academic Affairs, University
  of Louisiana at Monroe; SHERRYE CARRADINE, individually and in her
  official capacity as In-House Counsel, University of Louisiana at Monroe;
  UNIVERSITY OF LOUISIANA SYSTEM BOARD OF SUPERVISORS,

              Defendants - Appellees

               Appeals from the United States District Court for the
                          Western District of Louisiana

  Before REAVLEY, SOUTHWICK, and HAYNES, Circuit Judges.

                                 JUDGMENT

        This cause was considered on the record on appeal and the briefs on file.
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        It is ordered and adjudged that the judgment of the District Court is
  affirmed.

        IT IS FURTHER ORDERED that plaintiff-appellant pay to defendants-
  appellees the costs on appeal to be taxed by the Clerk of this Court.




                                             Certified as a true copy and issued
                                             as the mandate on Nov 08, 2017
                                             Attest:
                                             Clerk, U.S. Court of Appeals, Fifth Circuit
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          IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                                                                    United States Court of Appeals
                                                                             Fifth Circuit
                                   No. 16-30920
                                                                           FILED
                                                                     October 17, 2017

  DUNG QUOC PHAM,                                                     Lyle W. Cayce
                                                                           Clerk
              Plaintiff - Appellant

  v.

  BENNY BLAYLOCK, in his official capacity as Dean of the College of
  Pharmacy, University of Louisiana at Monroe; KEITH JACKSON,
  individually and in his official capacity as Faculty Chairperson of the Board
  of Ethics of the College of Pharmacy, University of Louisiana at Monroe;
  TIBB JACOBS, individually and in her official capacity as the Faculty
  Chairperson of the Board of Ethics of the College of Pharmacy, University of
  Louisiana at Monroe; MICHAEL COCKERHAM, individually and in his
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  individually and in his official capacity as Professor of the College of
  Pharmacy, University of Louisiana at Monroe; ERIC A. PANI, individually
  and in his official capacity as Vice President for Academic Affairs, University
  of Louisiana at Monroe; SHERRYE CARRADINE, individually and in her
  official capacity as In-House Counsel, University of Louisiana at Monroe;
  UNIVERSITY OF LOUISIANA SYSTEM BOARD OF SUPERVISORS,

              Defendants - Appellees



                  Appeals from the United States District Court
                      for the Western District of Louisiana
                             USDC No: 3:16-CV-467



  Before REAVLEY, SOUTHWICK, and HAYNES, Circuit Judges.
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                                        No. 16-30920
  PER CURIAM:*
         Dung Quoc Pham sued the defendants for their involvement in the
  disciplinary proceedings that led to his expulsion from the pharmacy school at
  the University of Louisiana at Monroe (“ULM”). He sought injunctive relief
  and monetary damages. The district court denied Pham an injunction and
  granted the defendants’ motion to dismiss the claims for monetary damages on
  the basis of qualified immunity. AFFIRMED.


                      FACTUAL AND PROCEDURAL BACKGROUND
         After two incidents that ULM determined to constitute cheating, the
  school expelled Pham, a third-year pharmacy student.                  The first incident
  occurred in 2015. Test administrators witnessed Pham and another student
  looking at each other’s computer screens during an examination and reported
  them as having cheated. The administration notified Pham of the allegations
  in writing. Pham requested and received a hearing with the Board of Ethics.
  At the end of the hearing, the Board recommended that Pham receive a zero
  on the examination and be placed on probation.
         One of the professors who reported the incident allegedly encouraged
  Pham to write a letter to the Dean of the Pharmacy School. Pham wrote the
  letter, apologizing for the misconduct but not admitting any fault.                  After
  review, the Dean adopted the recommendation of the Board.                     Pham then
  appealed that decision to the Vice President of Academic Affairs. The Vice
  President affirmed the Board’s decision, a decision motivated at least in part
  by Pham’s previous letter of apology. The school placed Pham on probation.



         * Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not
  be published and is not precedent except under the limited circumstances set forth in 5TH
  CIR. R. 47.5.4.

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        A second incident occurred during the next semester.        A professor
  claimed that Pham did not stop writing at the end of the test when he was
  instructed to do so. When Pham finally did stop, the professor saw that there
  were packets of paper under his test. She confronted him, accused him of
  cheating, and reported his conduct to the administration.     Pham received
  written notice that he had been accused of violating a rule prohibiting use or
  possession of unauthorized materials during a test. This time represented by
  counsel, Pham denied the allegations and requested a hearing, which the
  school granted.   Pham also requested the opportunity to cross-examine
  witnesses and to examine the answer sheet from the incident. The school
  denied these requests.
        After the hearing, the Board found Pham guilty of using unauthorized
  materials and recommended that he be expelled. The Dean notified Pham that
  he intended to adopt the Board’s findings and recommendation. Although the
  school’s Code of Ethical and Professional Conduct required the school to
  provide Pham with the Board’s findings of fact and conclusions, Pham never
  received them.
        Pham’s counsel wrote a letter to the administration describing the ways
  in which the Board failed to comply with the Code. The administration then
  provided Pham with the Board’s findings of facts and conclusions and provided
  a supplemental hearing during which Pham was permitted to cross-examine
  witnesses. The supplemental hearing did not change the Board’s decision to
  expel Pham. Pham appealed to the Vice President who upheld the decision to
  expel Pham. Although initially charged with use of unauthorized material, the
  Vice President upheld the expulsion for possession of unauthorized material.
        Days later, Pham filed suit seeking a temporary restraining order, a
  preliminary injunction, and monetary damages. The district court denied the

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  motion for a temporary restraining order, and the defendants filed a motion to
  dismiss. After supplemental briefing and a hearing, the district court denied
  Pham’s motion for a preliminary injunction and granted the defendants’
  motion to dismiss on the basis of qualified immunity. Pham timely appealed.


                                   DISCUSSION
          Pham presents ten grounds for appeal. We will address those issues in
  a collective manner as we analyze whether Pham was entitled to an injunction
  and whether the individual defendants were entitled to qualified immunity.


     I.     Preliminary Injunction
          We review the denial of injunctive relief for an abuse of discretion.
  Retractable Techs., Inc. v. Becton Dickinson & Co., 842 F.3d 883, 901–02 (5th
  Cir. 2016). A district court abuses its discretion when it relies on erroneous
  findings of fact or legal conclusions or when it misapplies findings of facts or
  conclusions of law. Aransas Project v. Shaw, 775 F.3d 641, 663 (5th Cir. 2014).
  Underlying factual findings are reviewed for clear error, while legal
  conclusions are reviewed de novo. Affiliated Prof’l Home Health Care Agency
  v. Shalala, 164 F.3d 282, 284–85 (5th Cir. 1999).
          Injunctive relief is an “extraordinary remedy.” Miss. Power & Light Co.
  v. United Gas Pipe Line Co., 760 F.2d 618, 621 (5th Cir. 1985). In order for
  injunctive relief to be appropriate, the movant must establish four
  requirements: “substantial likelihood of success on the merits, substantial
  threat of irreparable harm absent an injunction, a balance of hardships in [the
  moving party’s] favor, and no disservice to the public interest.” Daniels Health
  Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 582 (5th Cir. 2013).


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        It is necessary for us to discuss only one of the factors, namely, whether
  Pham has established a substantial likelihood of success on his due process
  claims. In order to demonstrate a violation of the protections of the Fourteenth
  Amendment, the party expelled from school must demonstrate that his
  dismissal “deprived [him] of either a ‘liberty’ or ‘property’ interest.” Bd. of
  Curators of the Univ. of Mo. v. Horowitz, 435 U.S. 78, 82 (1978). For purposes
  of our analysis, we will assume Pham was entitled to those protections. We
  turn to whether he was afforded due process prior to ULM’s taking action. See
  Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 541 (1985).
        Before a student is dismissed for disciplinary reasons, procedural due
  process requires that he receive notice of the charges and a chance to rebut
  them. See Goss v. Lopez, 419 U.S. 565, 581 (1975). He is entitled to know the
  evidence or the witnesses testifying against him. Dixon v. Ala. State Bd. of
  Educ., 294 F.2d 150, 159 (5th Cir. 1961). A court-like hearing that includes an
  opportunity to cross-examine witnesses is not required, but the hearing must
  at least present the decisionmaker with the arguments of both sides in
  sufficient detail.   Id.   Due process also requires a neutral and unbiased
  decisionmaker. See Withrow v. Larkin, 421 U.S. 35, 47 (1975).
         Pham’s principal complaint is that the Board violated its own set of
  rules. This includes the Board’s failing to provide him with written findings of
  fact and denying him the opportunity to cross-examine witnesses. We have
  previously held that a university’s failure to comply with its own rules does not
  give rise to a constitutional violation as long as the aggrieved party “was in
  fact given the process guaranteed him by the Constitution.” Levitt v. Univ. of
  Tex. at El Paso, 759 F.2d 1224, 1231 (5th Cir. 1985).     Pham received notice
  and a hearing regarding both incidents. Each time, the school notified Pham
  of the allegations against him. It also provided Pham with an opportunity to

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  rebut the allegations brought against him at the hearings. Pham argues his
  notice and hearing in the second incident were insufficient because the initial
  charge was for use of unauthorized materials, and he was ultimately expelled
  for possession of unauthorized materials. We are unpersuaded. The rule that
  Pham was accused of violating bans both the use and possession of
  unauthorized materials. Thus, the notice and hearing that Pham received
  satisfied constitutional requirements.
        Pham also complains of bias when the school addressed the first
  cheating incident. That bias allegedly existed because of the involvement of
  the professor who encouraged him to write the letter of apology.              A
  decisionmaker is unconstitutionally biased when he “has a pecuniary interest
  in the outcome” or “has been the target of personal abuse or criticism from the
  party” under scrutiny. Withrow, 421 U.S. at 47. To prove bias, Pham must
  “overcome a presumption of honesty and integrity in those serving as
  adjudicators[.]” See id. Pham’s allegations do not overcome the presumption.
        Substantive due process under the Fourteenth Amendment protects
  individuals against conduct that “shocks the conscience.” Rochin v. California,
  342 U.S. 165, 172 (1952). In this context, substantive due process amounts to
  a “constitutional protection against arbitrary dismissal[.]” Regents of Univ. of
  Mich. v. Ewing, 474 U.S. 214, 223 (1985). “[O]nly the most egregious official
  conduct can be said to be ‘arbitrary in the constitutional sense[.]’” Cnty. of
  Sacramento v. Lewis, 523 U.S. 833, 846 (1998) (quoting Collins v. Harker
  Heights, 503 U.S. 115, 129 (1992)). None of the Board’s alleged violations of
  its own rules are of the nature to offend substantive due process.
        Pham also argues that ULM violated its contractual relationship with
  him. Claims such as this by a citizen against an agency of his state are barred


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   by the Eleventh Amendment. See Voisin’s Oyster House, Inc. v. Guidry, 799
   F.2d 183, 185 (5th Cir. 1986).
            Because Pham has not shown any likelihood of success on the merits, we
   do not address his arguments as to the remaining three requirements for
   injunctive relief. See La Union Del Pueblo Entero v. Fed. Emergency Mgmt.
   Agency, 608 F.3d 217, 225 (5th Cir. 2010). The district court did not abuse its
   discretion in denying Pham’s request for injunctive relief.


      II.     Permanent Injunction
            We point out that the district court specifically analyzed the relevant
   factors for a preliminary injunction. After concluding its analysis, the district
   court summarized its ruling as being a denial of Pham’s motion for a
   preliminary injunction and a grant of the defendants’ motion to dismiss them
   in their individual capacities from the claims for monetary damages.         The
   district court then entered a judgment denying the motion for a preliminary
   injunction and granting a dismissal with prejudice of Pham’s claims against
   the individual defendants for monetary damages.            We will discuss the
   dismissal based on qualified immunity subsequently. The question here is
   whether anything remains to be resolved regarding an injunction. The district
   court squarely denied the request for a preliminary injunction, but it did not
   directly address the request for a permanent injunction.
             An appeal from the grant or denial of a preliminary injunction is
   permitted, see 28 U.S.C. § 1292 (a)(1), but here, a motion for a permanent
   injunction remains unresolved.         Generally, appellate courts reviewing
   preliminary injunctions do not consider the merits except “to the extent
   necessary to decide” the matter on appeal. Mercury Motor Exps., Inc. v. Brinke,
   475 F.2d 1086, 1091 (5th Cir. 1973). Even so, the court’s review “is not confined

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   to the act of granting the injunctio[n], but extends as well to determining
   whether there is any insuperable objection, in point of jurisdiction or merits,
   to the maintenance of [the] bill, and, if so, to directing a final decree dismissing
   it.” Munaf v. Geren, 553 U.S. 674, 691 (2008) (quoting City and Cnty. of Denver
   v. New York Trust Co., 229 U.S. 123, 136 (1913)). Deciding a case on the merits
   may be particularly appropriate where the injunction’s validity depends on a
   matter of law on which the plaintiff cannot prevail.         Id.   In determining
   whether to rule on the merits on the appeal of a preliminary injunction, this
   court has considered, among other things, whether the parties have presented
   arguments on the merits during the course of the appeal. See Ballas v. Symm,
   494 F.2d 1167, 1170–71 (5th Cir. 1974).
         Pham briefed his arguments as if the district court had denied the T.R.O.
   and both the preliminary and permanent injunctions, stating that the “district
   court denied Pham’s application for a temporary restraining order and request
   for preliminary and permanent injunctive relief on the basis” that Pham failed
   to show “a substantial likelihood of success on the merits.” The relief Pham
   requested here is that we “reverse the district court’s decision denying Pham’s
   request for preliminary and permanent injunctive relief.” The constitutional
   issues have been briefed. The standard for issuing a permanent injunction is
   “essentially the same” as the standard for issuing a preliminary injunction.
   Dresser-Rand Co. v. Virtual Automation Inc., 361 F.3d 831, 847 (5th Cir. 2004).
   Instead of proving a substantial likelihood of success on the merits, though,
   the plaintiff must actually prevail on the merits. Id. We have held that there
   was no constitutional violation. As a result, this is a rare case in which we are
   able to decide the case on the merits to avoid further proceedings in the district
   court and promote “the interest of judicial economy.” Ballas, 494 F.2d at 1171.
   We now hold that there is no right to a permanent injunction.

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      III.   Qualified Immunity
         Pham argues that qualified immunity was inappropriate in this case
   because the defendants allegedly violated the school’s rules.           Even if so,
   violation of school rules alone does not constitute a constitutional violation.
   Qualified immunity protects “government officials performing discretionary
   functions . . . from liability for civil damages insofar as their conduct does not
   violate clearly established statutory or constitutional rights of which a
   reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800,
   818 (1982). To overcome this affirmative defense, the “plaintiff must show that
   the evidence, viewed in the light most favorable to him, is sufficient to establish
   a genuine dispute (1) that the official violated a statutory or constitutional
   right, and (2) that the right was ‘clearly established’ at the time of the
   challenged conduct.” Cutler v. Stephen F. Austin State Univ., 767 F.3d 462,
   469 (5th Cir. 2014) (quoting Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011)). The
   plaintiff does not have to identify a case that is directly on point, but prior cases
   must have placed the constitutional issue beyond question.               Morgan v.
   Swanson, 659 F.3d 359, 372 (5th Cir. 2011) (en banc).
         The process Pham received satisfied constitutional requirements.
   Because Pham suffered no constitutional injury, qualified immunity applies,
   and the district court correctly dismissed his monetary claims against the
   individual defendants.
         AFFIRMED.




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Tax                                                                                                       1.50
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                     16.50                 8th                            November                    2017
